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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )                     CRIMINAL ACTION
                                            )
v.                                          )                     No. 10-20076-04-KHV
                                            )
MICHAEL D. PORTER,                          )
                                            )
                         Defendant.         )
____________________________________________)

                               MEMORANDUM AND ORDER

       On May 24, 2011, the Court sentenced defendant to 120 months in prison. On March 16,

2012, the Court overruled defendant’s motions to withdraw his guilty plea. On August 28, 2012,

the Court overruled defendant’s request for a reduced sentence in light of the decision in Dorsey v.

United States, 132 S. Ct. 2321 (2012). On May 30, 2016, based on the decision in Johnson v. United

States, 135 S. Ct. 2551 (2015), defendant through the Federal Public Defender filed a motion to

vacate his sentence under 28 U.S.C. § 2255. The Court stayed consideration of defendant’s

Section 2255 motion until the Supreme Court decided the case of Beckles v. United States, Docket

No. 15-8544 (June 27, 2016). This matter is before the Court on defendant’s letter (Doc. #666) filed

June 28, 2016, which the Court construes as a motion for resentencing. For reasons stated below,

the Court dismisses defendant’s motion.

       Initially, the Court dismisses defendant’s motion because defendant is represented by counsel

who did not sign the motion. See United States v. Sandoval-DeLao, 283 F. App’x 621, 625 (10th

Cir. 2008) (no error in refusal to consider pro se motion when defendant represented by counsel);

United States v. Castellon, 218 F. App’x 775, 780 (10th Cir. 2007) (if criminal defendant

represented by counsel, court does not accept pro se filings or allegations); United States v.
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McKinley, 58 F.3d 1475, 1480 (10th Cir. 1995) (no constitutional right to “hybrid form of

representation”). In addition, the Court lacks jurisdiction to address defendant’s motion.

       A federal district court may modify a defendant’s sentence only where Congress has

expressly authorized it to do so. United States v. Blackwell, 81 F.3d 945, 947 (10th Cir. 1996); see

18 U.S.C. § 3582(c). Congress has set forth three limited circumstances in which a court may

modify a sentence: (1) upon motion of the Director of the Bureau of Prisons in extraordinary

circumstances or where defendant has reached 70 years of age and has served at least 30 years in

prison; (2) when “expressly permitted by statute or by Rule 35;” and (3) when defendant has been

sentenced “based on a sentencing range that has subsequently been lowered by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(1), (2); see Blackwell, 81 F.3d at 947-48. None of these

exceptions apply here. Defendant has not cited any statute which authorizes the Court to modify

his sentence.1 Moreover, Rules 35 and 36 of the Federal Rules of Criminal Procedure clearly do not

authorize a substantive modification of defendant’s sentence at this time. See id.; Fed. R. Crim.

P. 35 (authorizes resentencing to reflect defendant’s substantial assistance, and to correct

arithmetical, technical or other clear error within 14 days of sentencing); Fed. R. Crim. P. 36

(authorizes court to correct clerical-type errors). Finally, the Court does not have inherent authority

to resentence defendant. See Blackwell, 81 F.3d at 949. For these reasons, the Court does not have

jurisdiction to resentence defendant at this time.


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               Defendant alleges that (1) counsel provided ineffective assistance of counsel during
plea negotiations and (2) someone deliberately provided falsified documents to the grand jury.
Doc. #666 at 1. Defendant ordinarily could raise such claims under 28 U.S.C. § 2255, but his
current Section 2255 motion only asserts a claim under Johnson and the claims in his motion for
resentencing do not appear to relate to Johnson. Even so, to the extent that such claims can be
pursued in an action under 28 U.S.C. § 2255, defendant can seek leave through counsel to file an
amended Section 2255 motion.

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       IT IS THEREFORE ORDERED that defendant’s letter (Doc. #666) filed June 28, 2016,

which the Court construes as a motion for resentencing, is DISMISSED for lack of jurisdiction.

       Dated this 6th day of October, 2016 at Kansas City, Kansas.

                                                   s/ Kathryn H. Vratil
                                                   KATHRYN H. VRATIL
                                                   United States District Judge




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